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           EXHIBIT A
       Case 1:15-cv-00255-RP Document 1-1 Filed 04/03/15 Page 2 of 21




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION

WILLIAM C. RODEN, M.D.,                   §
                                          §
     Plaintiff,                           §
                                          §
V.                                        §              C.A. No. 1:15-cv-00255
                                          §
THE PAUL REVERE LIFE                      §
INSURANCE COMPANY,                        §
                                          §
     Defendant.                           §

                  INDEX OF STATE COURT FILED DOCUMENTS

                                                               Date Received / Filed

1.   Docket Sheet from Travis County, Texas, 419th                     N/A
     Judicial District

2.   Plaintiff's Original Petition                                     3/6/15

3.   Citation Issued to The Paul Revere Life Insurance                3/10/15
     Company

4.   Citation (Executed) to The Paul Revere Life Insurance            3/16/15
     Company




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                                            Respectfully submitted,


                                            By: /s/ Dennis M. Lynch
                                                  Dennis M. Lynch
                                                  State Bar No. 90001506
                                                  dennis.lynch@figdav.corn
                                                  Roshanak Khosravighasemabadi
                                                  State Bar No. 24048587
                                                  rosh.khosravi@figday.com

                                            FIGARI & DAVENPORT, L.L.P.
                                            3400 Bank of America Plaza
                                            901 Main Street, LB 125
                                            Dallas, Texas 75202-3796
                                            (214) 939-2000
                                            (214) 939-2090 (Facsimile)

                                             ATTORNEYS FOR DEFENDANT
                                             THE PAUL REVERE LIFE INSURANCE
                                             COMPANY


                            CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing document has been

sent by certified mail, return receipt requested, to Mr. Jon Michael Smith, 3305

Northland Drive, Suite 500, Austin, Texas 78731, on this the 3rd day of April, 2015.


                                             /s/ Dennis M. Lynch
                                             Dennis M. Lynch




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                             1
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Cause Detail                                                                                   Page 1 of 1


  DISTRICT CLERK RECORDS SEARCH

                                                                                         Records Request

       D-1-GN-15-000887 - RODEN V PAUL REVERE LIFE (Court 419)                             New Search

                                                                                              Back

   Summary       Events     Parties     Documents


                                                    Cause Events

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    Event Date   Type                                        Category          Court

    03/16/2015   EXECUTED SERVICE                            SRVPROCESS        419

    03/10/2015   ISS:CITATION                                ISSUANCE          419

    03/06/2015   ORIGINAL PETITION/APPLICATION               PET-PL            419

    03/06/2015   ASM:JURY FEE CIVIL                          FINANCIAL EVENT

    03/06/2015   NEW:ORIGINAL PETITION/APPL                  CIVIL COMPLAINT   419

    03/06/2015   ASM:GN CIVIL PETITION                       FINANCIAL EVENT

    03/06/2015   ASM:CITATION ISSUE                          FINANCIAL EVENT




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Cause Detail                                                           Page 1 of 1



  DISTRICT CLERK RECORDS SEARCH

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        D-1-GN-15-000887 - RODEN V PAUL REVERE LIFE (Court 419)                               New Search

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   03/06/2015 ORIGINAL PETITION/APPLICATION

   03/16/2015 EXECUTED SERVICE




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                                                                        3/6/2015 3:0432 PM
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                                      D-1 -GO 5-000887

WILLIAM C. RODEN, M.D.,                                    IN THE DISTRICT COURT OF
     Plaintiff
                                                           • IRAVIS COUNTY; TEXAS

 THE PAUL REVERE LIFE INSURANCE
. COMPANY,
      Defendant                                               419TH JUDICIAL DISTRICT


                                  Plaintiff's Original Petition

TO THE HONORABLE COURT:

        William C. Roden, M.D. ("Roden"), Plaintiff, respectfully files this original petition

:complaining of The Paul Revere Life Insurance Company, (Taul Revere") and would show:



                              I. DiscoVerv Control Plan, Level 2

        Purstiant to Texas Rule of Civil Procedure 190.3 ; this case .is governed 'by Discovery

:Conti:A:Plan, Level 2.



                                     11. Nature of the Case

        Dr. 'Roden's claim arises from Paul Reyere's incOrrect Mterpretation of his long term

 disability policy: Purstant to Texas kule Of Civil PrOcedure 47, Plaintiff states that he seeks

 damages within the jurisdicriorial Units of this court, specifically monetary relief over

 $200,000.00 but not more than $1,000,000.00 and non ,monetary relief in the form of declaratory
      Case 1:15-cv-00255-RP Document 1-1 Filed 04/03/15 Page 9 of 21




                                              III. Parties

        Plaintiff is an individual residing in Georgia.

        Defendant, The Paul Revere Life Insurance Company, iS a foreign insurance company

. authorized to do business hi Texas and that is doing business in Texas and may be served With ;

 citation by and through its registered agent, Corporation Service Coinpany, 211 East 7 th Street, •

 Suite 620,:Austin; Texas 78701-3218.




         Venue is proper in Travis County because all or a substantial part of the events or
                                          •    •                                           .. • . . .
. emissións giving rise to Plaintiff's claims OCCurred in •TtaviS County. Tex. Civ: • Prac, ,.&

 Code Ann.



                                      V. Conditions Precedent

         All conditions precedent to recovery have been met r or have occurred. •



                                        VI: Facts of the Case

         On February 21, 1989 defendant issued long term disability* policy number 0102379911 .

     Dr. Roden. The policy, as explained in defendant's letter of FebruarY 9, 1989, nclUded:

 . coverage for "Total Disability in Your Occupation." This means that:Dr. Roderi is considered

  Totally Disabled if, beeause of injury or sickness, he is Unable to perform the iniportarit duties .

  of "Your Occupation" The letter went on to eXplain that "Your Occupation" means orthopedic

  surgeon for Dr. Roden and that if he was performing the important duties of an orthopedic

  surgeon immediately prior to the time diabilitY beginS, and then was unable to perform those.



                                                   -2-
         Case 1:15-cv-00255-RP Document 1-1 Filed 04/03/15 Page 10 of 21




    duties, Dr. Roden Would be considered unable to perform the iniportant duties Of "YOUr

    Occuliation" and would, therefore, be Totally Disabled as defined by the policy.

           Dr. Roden purchased available additional benefits under the policy at signifiCant
                                                                               ,




    additional monthly expense. ImPOrtantly, he purchased *the "Lifetime Total Disability" benefit.

. Policy Schedule II states that for Injury and Siokness and for Total Disability starting before age

    65, the maximum benefit period for Dr. Roden is his lifetime. In other words, if Dr. Roden

    becaMe Totally DiSabled before he turned 65 either because of injury or sickness, then defendant

    Would be required tO pay benefits tO hini for the remainder of his life.

           Dr. Roden practiced as an orthopedic surgeon for more than thirty years before being

    injured on June 11, 2011. On that date Dr: Roden suffered a serious shoulder injury when he fell

    assisting his daughter move furniture. Prior to his accident, Dr. Roden was able to perform the

    inipOrtant dude§ of his occupation as an orthoPedic sUrgeon Afterward; despite hiS ktenipt to

    rehabilitate his:shoulder, Dr. Roden was no longer . able tO perform the important &ties Of his

•   ocCupation.

            The Lifetithe Total DisabilitY Benefit Rider distinguishes between a Total DiSability due

    to Injury and a Total Disability due to SiokhesS:as f011owS:

            FOR iN,TURY

            For Total DiSability due to Injury, the monthly amount We will pay will be the
            amount shown on the Policy Schedule. Any Cost of Living benefit rider added to
            Your Policy shall apply to this amount.

            FOR SICKNESS

            FOr Total Disability due to Sickness, the monthly ainount We Will pay will be
            based on the amount shoWn on the Policy Schedule. . Any Cost of Living benefit .
            rider added to Your Policy shall apply to this amount. .The amount shown on the
                                         ,



            Policy Schedule plus any Cost of Living increase that applies to thiS rider shall be
            multiplied by a factor. The factor tO be Used Will be based on Your age at the start
            of Total Disability which continues until age 65:
                               ,




                                                      -3-,
       Case 1:15-cv-00255-RP Document 1-1 Filed 04/03/15 Page 11 of 21




                        Factors by age for Total Disability due to Sickness

                      • 1.0 for 55 or les§               .5 for 60
                       •        .9 for' 56               .4 for 61
                                .8 for 57                .3 for 62
                                .7 for 58                .2 for 63
                                .6 for 59                .1 for 64

         Defendant haS taken :the position that Di. Roden's Total DisabilitY* . is: due to Sickness

  instead of Injury. By making that determination i defendant has reduced the amount it is going to :

 pay Dr. Roden by 70%.

         "Injury'' is defined as "accidental bodily injury sustained after the Date of Issue and -while

  Your PolicY is in force.." "Sickness" is defmed :as "sickness or disease which first .manifests

  itself after the Date of Iasue and while Your Policy is in force."

          The policy atterapts to answer the qUestion, "Wbat if a disability is due td mote than     one
  cause?" as posed on *page 13. SeCtion 6.2 of die Policy disCusses the possibility of "Concurrent
                                                              .     .                                :
  Disability" and states that, "If a disability is caused by more :than one InjUry or Sickness, or from: -

  both, We wilt-Pay 'benefits as if the Disability WaS'Caused by only One Injury or SickneSs."

          Dr. Roden's :Total Di§ability is clearly due . to his injury iii.Jurie of 2011: HoW/ever,

  defendant has taken the position that his Total . DiSability is due solely to Sickness. Defendant •

   as alsO improperly. Calculated Dr. ROden's benefits:. Dr. Roden has appealed_ defendant's

, decisions in this regard, but his appeal was denied.




                           VII. First Cause of Action: Breach of Contract

          Defendant's aetions aniount to a brea.ch of contract between Dr. Roden and Paul Reveie.

  Dr: Roden applied for and was accepted for insuiance covetigO by Defendant. He paid the
      Case 1:15-cv-00255-RP Document 1-1 Filed 04/03/15 Page 12 of 21




required preminms ; e tering into a binding contract for. insurance With Paul Revere. Paul Revere .

breached the . contract by deciding that Dr. Roden's Total Disability was due to Sickness and not

.Injury :and by . hicorrectly calcUlating :his benefits Dn....Roden. is entitled- . t6..recoVer..hiS actual

damages, court costs and reasonable and necessary attorney's fees pursuant to . Texas Civil •

Practice & Remedies Ciide, Secfion 38.001, et Seq.



                VIII. Second Cause of Action: Texas Insurance Code Section 541.060

         Defendant action§ as desCribed abOve anionnt to Unfair Settlement Practices as defined

by Texas Insurance Code, Seetion 541:060: Spec ficallY, defendant has misrePreSented facts an

policy prOVisions and has failed to atteMpt in good faith to settle a claiM ofi which liability has

.becoine clear. Defendant's violationS have*been a producing cauSe of daniageS to Dr. *Roden.
                                 ••    .




  ecanse . Defendant haS acted kriciiiirigly,..: Pt. 'Roden iS sentitled to an.additional award of thr
                                                                                                   , ee•

 tunes: his actual damages. Tekas .Insurance acide, 'Section 541.152(b). He is also en-fitted to his
       •....




 reasonable and necessary attorney s fees.



                DC Third Canse of Action:. Texas InSurance Code Sections.542.051-061

          befendant's . aetiOns also athOunt to a violatiOn ,of Texas Insurance Code, Sections

 542.051-061. As such, Plaintiff is entitled to 18% per annum in addition to the ambunt 'of his

 claim, plus attorneys' fees.



                                  X. RequeSt .for Declaratory Judgment

               ursuant td 'Feiss Civil Practice &"Reinedies -Code,' Section 37.001, et seq:, Dr. Roden

 seeks a declaration from this Cotift; including, but not limited to the folloWing: (1) that hiS "fotal
       Case 1:15-cv-00255-RP Document 1-1 Filed 04/03/15 Page 13 of 21




  Disability was Caused,by an Injury; (2) d that Dr. Roden is entitled to receive his full Monthly

• :benefit . under .the. policy .for . -his Jifetinte: ;Additionally, -Dt. Roden seeks hiS • reasonable -an

•:necessary attorney's fees pUrsuant fO the •DeelaratoryJudgrtierit Act



                                      XI. The Policy is Ambiguous

         . In the alternative, Dr. Roden's pleads that the insitranee fiolicy made the basis of this

   aWsuit is ambiguous.

           Specifically; the policy states that, 'If a disability is eaused by more than - one InjUry .or

  Sickness, or frOm both, We will pay benefits as if the Disability was Caused by only one Injury or

   Sickness." But the policy doesnot say what happens if it is determined that a disability is caused

  'by both an Injury and a SiekneSs. It iS reasonable to interpret the policy tO mean that if a Total

  Disability iS due to both an injury and an illness, then Paul Revere will pay benefits as if the .

  Disability Was caused by the injury. Because at least one reasonable interpretation would favor

   Dr. Roden; that is the interpretation that must be f011oWed in this base -.



                                             XII. Jury:DeMand

           Plaintiff has requested that this case be decided by a jury aS" allowed by Tex. R. Civ.

  •216. The approPtiate jury fee has been paid:



                                                101•

           Plaintiff prays thatnpon final trial .of this case he have ju         e t againk Defendant for

           damages, an additional three tithes his actual damages, reasonable and necessary




                                                       -6-
   Case 1:15-cv-00255-RP Document 1-1 Filed 04/03/15 Page 14 of 21




attorney's fees, pre judgment and Post-judgment interest, costs of cOurt and suth other .relief to

which Plaintiff may show himself justly entitled.


                                                    Respectfully su



                                                           C E          TH
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                                                          orthland Drive
                                                       500
                                                     tin, Texas 78731
                                                . 512/371-1006
                                                  512/476-6685 tax
                                                   Case 1:15-cv-00255-RP Document 1-1 Filed 04/03/15 Page 15 of 21

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                    ,.•           •      SyyLED             William C. Roden, M.D. v. The Paul Revere Life                                                              Inkuance Compaq . ,. •                                                 •

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                                        • • (e.g., John Smith v. All American Insurance Co; In re Mary Ann Jones; In the Matter of the Estate of George Jackson) -   . •        •                                                                                                                                                                                                                      .
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              A civil case information shcct must be completed and submitted Nyhen . an original petition or applicatiOn i s. tiled to initiate a ncw civil, family law, probate;or mental
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        •Jon M:Sniith. -- . - • -. ..                                                     • -, jon@joamichaelsmithconi                                                                   William C. Roden, AD:                                                                                     .                     •DOther.        •: •   ' : • ..      •
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                 • Appeal froM Municipal tit JUStice Court                                     II Declaratory.ludgment • • - r . •.• . -                                 II PrejudgMent Remedy,: • • -: .       .... . °. ..
            . ° DAthitfation-related. , . -             . .. •                                 DOarnishitent • : ' ' . . .... - • '                                      OProtective Order • '.                        . ..
           ..• DAttichinent:".: • : ; - • . • . ,              - ..- .                      101nterpleader l• -• .• -                                                   :0Receiver       .•                  -• -
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           - --. 01301 of ReView • . -:                                                    • DLicense         .                                                          DSequestration
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             :. DCertiOrari . .           ' .                                               : :0/ylandamuS • •                                   -        ' .. .• OTempbrary Restraining bider/Injunction • • • : .
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                 • LOS than $100,900; Melt-Wing daniages'Of any kind; penalties; costs; expenses ;. Pre-jtogment inteiegt.;:and attorneyfees' f...' • ....: '.- ..- . .--.. - • - T - • -
        ' ['Legs 'titan $100,000 and rionAnonetary relief •                                                          :- . "                 • -- .                 .•'            .. •• • °'•• .... • ':' . - • • " :                                          •
                                                                                                                                                                                                                                                                      : ::- - •                    • ••'. • '
      • ' DOvei $100, 000 but not more than $200,000                                                                                                                                               .
             Over $200,000 but not more than $1,000,000
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          Dover $1,000,000                                                                                                                                                                                                 S
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           Case 1:15-cv-00255-RP Document 1-1 Filed 04/03/15 Page 16 of 21




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Case 1:15-cv-00255-RP Document 1-1 Filed 04/03/15 Page 17 of 21




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             Case 1:15-cv-00255-RP Document 1-1 Filed 04/03/15 Page 18 of 21


                                                                                     •   DELIVERED:               •/ 1t /
                                                                                         by:                      CC
                                                                                         Assured Civil Process Agency
                                                   CITATION
                                        THE     STATE          OF     TEXAS
                                            CAUSE NO. D-1-GN-15-000887

WILLIAM C. RODEN, M.D.
                                                                                                      , Plaintiff
     vs.
THE PAUL REVERE LIFE INSURANCE COMPANY
                                                                                                      , Defendant
TO: PAUL REVERE LIFE INSURANCE COMPANY
     BY SERVING THROUGH ITS REGISTERED AGENT
     CORPORATION SERVICE COMPANY
     211 EAST 7TH STREET SUITE 620
     AUSTIN, TEXAS 78701-3218

Defendant, in the above styled and numbered cause:

YOU HAVE BEEN SUED. You may employ an attorney. If you or your attorney do not file a written
answer with the clerk who issued this citation by 10:00 A.M. on the Monday next following the
ekpiration of twenty days after you were served this citation and petition, a default judgment may
be taken against you.

Attached is a copy of the PLAINTIFF'S ORIGINAL PETITION of the PLAINTIFF in the above styled and
numbered cause, which was filed on MARCH 6, 2015 in the 419TH JUDICIAL DISTRICT COURT of Travis
County, Austin, Texas.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at office, March 10 2015.

REQUESTED BY:
JON MICHAEL SMITH
3305 NORTHLAND DR STE 500
AUSTIN, TX 78731-4991                                             Ntac.1,
                                                                  - Velva L. Price
BUSINESS PHONE:(512)371-1006          FAX:(512)476-6685                   Travis County District Clerk
                                                                          Travis County Courthouse
                                                                          1000 Guadalupe, P.O. Box 679003 (78767)
                                                                          Austin, TX 78701

                                                                       PREPARED BY: WINKLER PATRICIA



 Came to hand on the         day of                              at            o'clock       M., and executed at
                                                        within the County of                                on the           day
 of                            , at          o'clock     M.,
 by delivering to the within named                                                             , each in person, a
. true copy of this citation together with the PLAINTIFF'S ORIGINAL PETITION accompanying pleading, having first
 attached such copy of such citation to such copy of pleading and endorsed on such copy of citation
 delivery.                                                                                                   et

 Service Fee: $                                                                                       co.
                                                                        Sheriff I Constable I Autzed                 oils"    11
 Sworn to and subscribed before me this the
                                                                                                            Ck*18■9'4/
                                                                                                             444


       day of
                                                                        Printed Name of Server

 Notary Public, THE STATE OF TEXAS                                                                            County, Texas


 D-1-GN-15-000887                                          SERVICE FEE NOT PAID                              P01 - 000028051

 ED      Original      e j   Service Copy
Case 1:15-cv-00255-RP Document 1-1 Filed 04/03/15 Page 19 of 21




                             4
                   Case 1:15-cv-00255-RP Document 1-1 Filed 04/03/15 Page 20 of 21



                                                                                                            Filed in The District Court
                                                                                                             of Travis County, Texas

                                                                      CITATION                                    MAR, 16 2015
                                                     THE             STATE         OFT   EXAS              At                          AM.
                                                             CAUSE NO. D-1-GN-15-000887                    Velva L. Price, District Clerk

WILLIAM C. RODEN, M.D.
                                                                                                                        , Plaintiff
     vs.
THE PAUL REVERE LIFE INSURANCE COMPANY
                                                                                                                        , Defendant
TO: PAUL REVERE LIFE INSURANCE COMPANY
     BY SERVING THROUGH ITS REGISTERED AGENT
     CORPORATION SERVICE COMPANY
     211 EAST 7TH STREET SUITE 620
     AUSTIN, TEXAS 78701-3218

Defendant, in the above styled and numbered cause:

YOU HAVE BEEN SUED. You may employ an attorney. If you or your '.,.torney do not file a written
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ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at office, M. ,n h 10, 2015.

REQUESTED BY:
JON MICHAEL SMITH
3305 NORTHLAND DR STE 500
AUSTIN, TX 78731-4991                                                                     Velva L. Price
BUSINESS PHONE (512)371-1006 FAX:(512)476-6685                                            Travis County District Clerk

 11,I 11L1111 1 1 1 1 11 11 1 fil l 111 1111 1 1 11 1 1 1 1 1 1 11                        Travis County Courthouse
                                                                                          1000 Guadalupe, P.O. Box 679003 (78767)
                                                                                          Austin, TX 78701

                                                                                         PREPARED BY: WINKLER PATRICIA

                                                                          RETURN
came to hand on the                   day of                                        at           o'clock      M., and executed at
                                                                          within the County of                               on the          day
of                                         , at                 o'clock      M.,
by delivering to the within name:                                                              , each in person, a
true copy of this citation toy , t'.er with the PLAINTIFF'S ORIGINAL PETITION accompanying pleading, having first
attached such copy of such to such copy of pleading and endorsed on such copy of citation the date of
delivery.

Service Fee: $
                                                                                         Sheriff / Constable
Sworn to and subscribed before me this the


          day of



Notary Public, THE STATE OF TEXAS
                                                                                                                                  mil? 41 exaL


D 1 GN 15 000887
  -   -   -    -                                                            SERVICE FEE NOT PAID                        1,/, \   tpr'-- 000028051
 0            Original         ET     Service Copy
        Case 1:15-cv-00255-RP Document 1-1 Filed 04/03/15 Page 21 of 21



                                          CAUSE NO.             D-1-GN-15-000887


                                                   RETURN

Came to my hand:     3/10/2015                    , at      09:00 o'clock      A.M. , the following
specified documents:


    •    Citation
    •    Plaintiff's Original Petition
    •    Jury Demand
    •    Civil Case Information Sheet

and executed by me on:                    3 / )0 /2015     , at    3 =46   o'clock    Pk       ,   at

211 E. 7TH STREET, SUITE 620, AUSTIN, TX 78701, within thz.%. county of TRAVIS,
by delivering to PAUL REVERE LIFE INSURANCE COMPANY..., by delivering to its
registered agent, CORPORATION SERVICE COMPANY, 1 .: delivering to managing
agent/employee OE VERT2 eeS                                            in person, a    ,


true copy of the above specified documents havinr i tirst endorsed on such copy
the date of delivery.

I am over the age of 18, not a party to nor interested in :le outcome of the above numbered suit,
and I declare under penalty of perjury that the foregoi -dg is true and correct.




                                                           tho zed Person: GebRae L.. CA-611 1-4-o      1-1-libta
                                                           pir tion Date:   IS   /   3 ( /20 17
                                                         ASSURED CIVIL PROCESS AGENCY
                                                         5926 Balcones Dr. Ste. 290, Austin, TX 78731


STATE OF TEXAS }

                                                VERIFICATION

Before me, a notary         on this day personally appeared the above named Authorized person,
known to me to be tIi person whose name is subscribed to the foregoing document and, being by
me first duly swen., declared that the statements and facts therein contained are within his
personal knowleLN and experience to be true and correct. Given under my hand and seal of office
on this the I tt- day of AM42.4fir                   2015   ,




        r"
        4 07:777D A N A :717,C ICHAEL
                  Notr.:f
                    •
                                    r;i
                        My Coro ,                        Notary Public
